ILND 44 (Rev. 09/20)                                CIVIL COVER
                               Case: 1:22-cv-05241 Document #: 2 Filed:SHEET
                                                                        09/26/22 Page 1 of 2 PageID #:45
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                       DEFENDANTS
         Backhaul and Track Logistics, d/b/a BAT Logistics                                                               BAT Logistics, LLC


   (b)    County of Residence of First Listed Plaintiff                                                                 County of Residence of First Listed Defendant
                                        (Except in U.S. plaintiff cases)                                                  (In U.S. plaintiff cases only)
                                                                                                                           Note: In land condemnation cases, use the location of the tract of land involved.

   (c)   Attorneys (firm name, address, and telephone number)                                                             Attorneys (If Known)
          BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP
          Simeon G. Papacostas, 71 South Wacker Drive, Suite 1600, Chicago, IL 60606 Tel: (312) 212-4949
          Mark E. Avsec, 200 Public Square, Suite 2300, Cleveland, OH 44114-2379 Tel: (216) 636-4500
          Eric L. Zalud, 200 Public Square, Suite 2300, Cleveland, OH 44114-2379 Tel: (216) 636-4500


II. BASIS OF JURISDICTION (Check one box, only.)                                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                                 (Check one box, only for plaintiff and one box for defendant.)
  1 U.S. Government                       ■   3     Federal Question                                                                            PTF DEF                                                PTF      DEF
      Plaintiff                                       (U.S. Government not a party.)                                                                       ■
                                                                                                                                                                    Incorporated or Principal Place of
                                                                                                                   Citizen of This State            1           1                                          4       ■   4
                                                                                                                                                                    Business in This State

  2 U.S. Government                           4     Diversity                                                     Citizen of Another State    ■   2          2    Incorporated and Principal Place     ■    5          5
      Defendant                                       (Indicate citizenship of parties in Item III.)                                                              of Business in Another State

                                                                                                                  Citizen or Subject of a
                                                                                                                                                  3          3    Foreign Nation                            6          6
                                                                                                                  Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
           CONTRACT                                                       TORTS                                        PRISONER PETITIONS                       LABOR                         OTHER STATUTES
                                                                                                                      510 Motions to Vacate               710 Fair Labor Standards
  110 Insurance                                     PERSONAL INJURY                    PERSONAL INJURY                    Sentence                                                          375 False Claims Act
                                                                                                                                                              Act
                                                                                                                      530 General                                                           376 Qui Tam (31 USC
  120 Marine                                  310 Airplane                     530 General                                                                720 Labor/Management
                                                                                                                                                                                                 3729 (a))
                                              315 Airplane Product Liability
                                                                               367 Health Care/                       535 Death Penalty                          Relations
                                              320 Assault, Libel & Slander                                                                                                                  400 State Reapportionment
                                                                                   Pharmaceutical
  130 Miller Act                              330 Federal Employers'               Personal Injury
                                                   Liability                       Product Liability
                                                                                                                      Habeas Corpus:                      740 Railway Labor Act             410 Antitrust
  140 Negotiable Instrument                   340 Marine                       368 Asbestos Personal                 540 Mandamus & Other                 751 Family and Medical            430 Banks and Banking
  150 Recovery of Overpayment                 345 Marine Product Liability         Injury Product                    550 Civil Rights                          Leave Act                    450 Commerce
       & Enforcement of Judgment              350 Motor Vehicle                    Liability                         555 Prison Condition                 790 Other Labor Litigation        460 Deportation
  151 Medicare Act                            355 Motor Vehicle Product                                              560 Civil Detainee -                 791 Employee Retirement           470 Racketeer Influenced
  152 Recovery of Defaulted                       Liability                  PERSONAL PROPERTY                            Conditions                                                             and Corrupt
                                                                                                                                                                 Income Security Act
       Student Loan                           360 Other Personal Injury                                                   of Confinement                                                        Organizations
      (Excludes Veterans)                     362 Personal Injury - Medical    370 Other Fraud                                                                                              480 Consumer Credit
  153 Recovery of Veteran’s                       Malpractice                                                                                             PROPERTY RIGHTS
                                                                               371 Truth in Lending                                                                                         485 Telephone Consumer
      Benefits                                                                                                                                            820 Copyright
  160 Stockholders’ Suits                                                              380 Other Personal                                                 830 Patent                             Protection Act (TCPA)
  190 Other Contract                                                                       Property Damage                                                835 Patent - Abbreviated          490 Cable/Sat TV
  195 Contract Product Liability                                                       385 Property Damage                                                    New Drug Application          850 Securities/Commodities/
  196 Franchise                                                                            Product Liability                                              840 Trademark                         Exchange
                                                                                                                                                          880 Defend Trade Secrets          890 Other Statutory Actions
                                                                                                                                                              Act of 2016 (DTSA)            891 Agricultural Arts
      REAL PROPERTY                                CIVIL RIGHTS                         BANKRUPTCY                    FORFEITURE/PENALTY                  SOCIAL SECURITY                   893 Environmental Matters
   210 Land Condemnation                      440 Other Civil Rights                   422 Appeal 28 USC 158          625 Drug Related Seizure            861 HIA (1395ff)                  895 Freedom of Information
                                                                                       423 Withdrawal                     of Property                     862 Black Lung (923)                  Act
   220 Foreclosure                            441 Voting                                                                  21 USC 881
   230 Rent Lease & Ejectment                 442 Employment                                 28 USC 157               690 Other                           863 DIWC/DIWW                     896 Arbitration
                                                                                                                                                                 (405(g))                   899 Administrative
   240 Torts to Land                          443 Housing/Accommodations                                                                                                                        Procedure
   245 Tort Product Liability                 445 Amer. w/ Disabilities-                IMMIGRATION                                                       864 SSID Title XVI                    Act/Review or Appeal of
   290 All Other Real Property                    Employment                           462 Naturalization                                                 865 RSI (405(g))                      Agency Decision
                                              446 Amer. w/Disabilities -                    Application                                                                                     950 Constitutionality of
                                                  Other                                463 Habeas Corpus –                                                 FEDERAL TAXES                        State Statutes
                                               448 Education                               Alien Detainee                                                 870 Taxes (U.S. Plaintiff
                                                                                           (Prisoner Petition)                                                  or Defendant
                                                                                       465 Other Immigration                                              871 IRS—Third Party
                                                                                            Actions                                                           26 USC 7609
V. ORIGIN (Check one box, only.)
  1 Original                  2 Removed from                       3   Remanded from                    4 Reinstated                          5 Transferred                  6 Multidistrict          8 Multidistrict
    Proceeding                  State Court                            Appellate Court                    or Reopened                           from Another                   Litigation -             Litigation -
                                                                                                                                                District                       Transfer                 Direct File
                                                                                                                                               (specify)

VI. CAUSE OF ACTION ( Enter U.S. Civil Statute under which you are filing and                                    VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and
                                                                                                                 423, enter the case number and judge for any associated bankruptcy matter previously adjudicated by
write a brief statement of cause.)                                                                               a judge of this Court. Use a separate attachment if necessary.)
15 U.S.C. §§ 1114(1) [Trademark Infringemet], 1125(a)(1)(A) [Unfair Competition], 1125(d) [Cybersquatting]

VIII. REQUESTED IN                 Check if this is a class action under Rule 23,     Demand $                     CHECK Yes only if demanded in complaint:
       COMPLAINT:                  F.R.CV.P.                                                                       Jury Demand:      Yes           No                              ■


IX. RELATED CASE(S) IF ANY (See instructions): Judge                                                         Case Number
X. Is this a previously dismissed or remanded case?                  Yes        No If yes, Case #      ■     Name of Judge
       September 26, 2022
Date: ___________________________________________                                                   /s/ Simeon G. Papacostas
                                                                    Signature of Attorney of Record ______________________________________________
                      Case: 1:22-cv-05241 Document #: 2 Filed: 09/26/22 Page 2 of 2 PageID #:46
                  INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority for Civil Cover Sheet

The ILND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
